       Case 17-34346-bjh7 Doc 4 Filed 11/23/17                                        Entered 11/23/17 23:41:00                          Page 1 of 2
Information to identify the case:
Debtor
                   Acadima LLC                                                                     EIN 47−5453661
                   Name


United States Bankruptcy Court Northern District of Texas
                                                                                                   Date case filed for chapter 7 11/20/17
Case number: 17−34346−bjh7

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Acadima LLC

2. All other names used in the
   last 8 years
3. Address                                   7700 Windrose, Ste G300
                                             Plano, TX 75024

4. Debtor's attorney                         Donald E. Hood                                                       Contact phone: (214) 234−0529
                                             Turley Law Center                                                    Email: don.hood@dehlaw.com
    Name and address                         6440 North Central Expwy. Ste 605
                                             Dallas, TX 75206

5. Bankruptcy trustee                        Scott M. Seidel                                                      Contact phone: (214) 234−2500
                                             Seidel Law Firm                                                      Email: scott.seidel@earthlink.net
    Name and address                         6505 W. Park Blvd., Suite 306
                                             Plano, TX 75093

6. Bankruptcy clerk's office                 1100 Commerce Street                                                 Office Hours: Mon.−Fri. 8:30−4:30
                                             Room 1254
    Documents in this case may be            Dallas, TX 75242                                                     Contact Phone: 214−753−2000
    filed at this address. You may
    inspect all records filed in this case
    at this office or online at
    www.pacer.gov.

7. Meeting of creditors                      December 19, 2017 at 10:40 AM                                        Location:
    The debtor's representative must         The meeting may be continued or adjourned to a later date. If        Office of the U.S. Trustee, 1100
    attend the meeting to be                 so, the date will be on the court docket.                            Commerce St., Rm 524, Dallas, TX 75242
    questioned under oath. Creditors
    may attend, but are not required to
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
           Case 17-34346-bjh7 Doc 4 Filed 11/23/17                       Entered 11/23/17 23:41:00                Page 2 of 2
                                               United States Bankruptcy Court
                                                Northern District of Texas
In re:                                                                                                     Case No. 17-34346-bjh
Acadima LLC                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0539-3                  User: tspelmon                     Page 1 of 1                          Date Rcvd: Nov 21, 2017
                                      Form ID: 309C                      Total Noticed: 8


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 23, 2017.
db             +Acadima LLC,    7700 Windrose, Ste G300,   Plano, TX 75024-0112
17913770        Alexander Loukaides,    6F Jintai Business Building,    571# Qingtai Street Shangcheng District,
                 Hangzhou, China 310009
17913773        Graduation Solutions, LLC,    c/o Nathan Gentle,   Pullman & Comley, LLC,
                 850 Main Street, P.O. Box 7006,    Bridgeport, CT 06601-7006
17913774       +WeWork Company,    115 W. 18th Street, 4th Floor,    New York, NY 10011-4113

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: don.hood@dehlaw.com Nov 22 2017 00:06:22      Donald E. Hood,   Turley Law Center,
                 6440 North Central Expwy. Ste 605,    Dallas, TX 75206
tr             +EDI: BSSEIDEL.COM Nov 21 2017 22:53:00      Scott M. Seidel,   Seidel Law Firm,
                 6505 W. Park Blvd., Suite 306,   Plano, TX 75093-6212
17913771       +EDI: AMEREXPR.COM Nov 21 2017 22:53:00      American Express,   P.O. Box 297871,
                 Fort Lauderdale, FL 33329-7871
17913772       +EDI: CHASE.COM Nov 21 2017 22:53:00      Chase Bank,   P.O. Box 94014,   Palatine, IL 60094-4014
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 23, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 20, 2017 at the address(es) listed below:
              Donald E. Hood   on behalf of Debtor   Acadima LLC don.hood@dehlaw.com
              Scott M. Seidel   scott.seidel@earthlink.net, susan.seidel@earthlink.net;TX58@ecfcbis.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 3
